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    IN THE DISTRICT COURT OF THE UNITED STATES

                  for the Western District of New York
                                 ____________________

                                                                OCTOBER 2013 GRAND JURY
                                                                (Impaneled 10/25/2013)
THE UNITED STATES OF AMERICA

       -vs-                                                     INDICTMENT

CHARLES WEBER                                                    Violations:
                                                                 Title 26, United States Code,
                                                                 Section 7206(1)
                                                                 (2 Counts)

                                        COUNT 1

                        (Making and Subscribing a False Return)

                             The Grand Jury Charges That:


       1.     On or about April 15, 2009, in the Western District of New York, the

defendant, CHARLES WEBER, a resident of Snyder, New York, did willfully make and

subscribe a U. S. Nonresident Alien Income Tax Return (Form 1040NR) for the calendar year

2006, which was verified by a written declaration that it was made under the penalties of

perjury and which he did not believe to be true and correct as to every material matter.



       2.     That income tax return, which was prepared and signed in the Western

District of New York and was filed with the Internal Revenue Service, falsely stated that

the defendant was a nonresident alien; falsely stated that the defendant’s only taxable

income was $745.33 in dividends; falsely stated that the defendant had not been present in

the United States during calendar year 2006; and failed to disclose that the defendant was
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engaged in the operation of a business activity, that is, a dental practice, from which he

derived gross receipts and sales and received income, whereas, as the defendant then and

there well knew, the defendant was a citizen of the United States; the defendant had

received taxable income in addition to dividends; the defendant had been present in the

United States during calendar year 2006; and the defendant was required by law and

regulation to disclose the operation of the business activity, the gross receipts and sales he

derived therefrom, and the income from the business activity.


      All in violation of Title 26, United States Code, Section 7206(1).


                                        COUNT 2

                        (Making and Subscribing a False Return)

                         The Grand Jury Further Charges That:


       1.    On or about April 15, 2009, in the Western District of New York, the

defendant, CHARLES WEBER, a resident of Snyder, New York, did willfully make and

subscribe a U. S. Nonresident Alien Income Tax Return (Form 1040NR) for the calendar year

2007, which was verified by a written declaration that it was made under the penalties of

perjury and which he did not believe to be true and correct as to every material matter.



       2.    That income tax return, which was prepared and signed in the Western

District of New York and was filed with the Internal Revenue Service, falsely stated that

the defendant was a nonresident alien; falsely stated that the defendant’s only taxable

income was $812 in dividends; falsely stated that the defendant had not been present in the

United States during calendar year 2007; and failed to disclose that the defendant was

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engaged in the operation of a business activity, that is, a dental practice, from which he

derived gross receipts and sales and received income, whereas, as the defendant then and

there well knew, the defendant was a citizen of the United States; the defendant had

received taxable income in addition to dividends; the defendant had been present in the

United States during calendar year 2007; and the defendant was required by law and

regulation to disclose the operation of the business activity, the gross receipts and sales he

derived therefrom, and the income from the business activity.



      All in violation of Title 26, United States Code, Section 7206(1).


      DATED: Buffalo, New York, January 13, 2015.


                                          WILLIAM J. HOCHUL, JR.
                                          United States Attorney


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A TRUE BILL:


S/FOREPERSON




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